37 F.3d 1495NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Steven D. L. PINGUET, Plaintiff Appellant,v.D. SWISHER;  L. M. Saunders;  M. C. Millard;  B. Arnold;  R.Daniel Johnson, Defendants Appellees.
    No. 93-6886.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 29, 1993.Decided Oct. 12, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, District Judge.  (CA-93-588-R)
      Steven D. L. Pinguet, appellant Pro Se.
      W.D.Va.
      AFFIRMED.
      Before WIDENER and LUTTIG, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses no abuse of discretion and that this appeal is without merit.*  Accordingly, we affirm on the reasoning of the district court.  Pinguet v. Swisher, No. CA-93-588-R (W.D.Va. Aug. 9, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         We deny Appellant's motion to appoint counsel
      
    
    